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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA                       CLERK, U.S. DISTRICT COURT
                                                                                          RICHMOND. VA

                                       Richmond Division


UNITED STATES OF AMERICA                               UNDER SEAL


V.                                                      Criminal No. 3:2lor 51
SHADONTA LATEEF BEANE,                                  Possession of a Firearm and
                                                        Ammunition by a Convicted Felon
                        Defendant.                      18 U.S.C.§ 922(g)(1)
                                                        Counts One and Two


                                                        Forfeiture Allegation


                        MAY 2021 TERM - At Richmond, Virginia

                                         INDICTMENT


THE GRAND JURY CHARGES THAT:
                                          COUNT ONE
                 (Possession of a Firearm and Ammunition by a Convicted Felon)

         On or about October 1, 2020, in the Eastern District of Virginia and within the

jurisdiction ofthis Court, the defendant, SHADONTA LATEEF BEANE,knowing that he had

previously been convicted of a crime punishable by imprisonment for a term exceeding one year,

knowingly possessed a firearm and ammunition,to wit: a ROMARM/CUGIR Mini Draco pistol

bearing serial number PE0441-2018 having a 30-round magazine and 22 rounds of762x39

ammunition, all in and affecting interstate and foreign commerce.

(In violation of Title 18, United States Code, Section 922(g)(1)).
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                                          COUNT TWO
                (Possession of a Firearm and Ammunition by a Convicted Felon)

        On or about November 17, 2020, in the Eastern District of Virginia and within the

jurisdiction ofthis Court, the defendant, SHADONTA LATEEF BEANE,knowing that he had

previously been convicted of a crime punishable by imprisonment for a term exceeding one year,

knowingly possessed a firearm and ammunition,to wit: a Taurus FT 840 .40 caliber handgun

bearing serial number SKR71840, and 10 rounds of.40 caliber ammunition, all in and affecting

interstate and foreign commerce.

(In violation of Title 18, United States Code, Section 922(g)(1)).


                                FORFEITURE ALLEGATION


       Pursuant to Rule 32.2 Fed. R. Crim. P., the defendant is hereby notified that upon

conviction ofthe offense alleged in Count One or Two ofthis Indictment, as part of the

sentencing of the defendant pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the

defendant shall forfeit to the United States any firearm or ammunition involved in or used in any

knowing violation ofthe offense. Property subject to forfeiture includes, but is not limited to, the

following:

      a ROMARM-CUGIR Mini Draco pistol bearing serial number PE044I-2018 having a
30-round magazine and 22 rounds of762x39 ammunition; and

        a Taurus PT 840 .40 caliber handgun bearing serial number SKR7I840, and 10 rounds of
.40 caliber ammunition
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        If the property subject to forfeiture cannot be located, the United States will seek an order

forfeiting substitute assets.

(In accordance with Title 18, United States Code, Section 924(d), incorporated by Title 28,
United States Code, Section 2461(c).)

                                                                      A TRUE BILL:




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        RAJ PAREKH
        ACTING UNITED STATES ATTORNEY



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        Angela Mastandrea-Miller                                           Tifylw seal in the Otik's0SQ9
        Assistant United States Attorney
